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UNITED STATES DISTRICT COURT
BURCH et al., EASTERN DISTRICT OF LOUISIANA

Plaintiff(s), DOCKET NO. 2:06-cv-10623-EEF-DEK

V.

STIPULATION OF DISMISSAL
WITH PREJUDICE
AS TO ALL DEFENDANTS

MERCK & CO., INC., et al.

Defendant(s).

Pursuant to Federal Rule of Civil Procedure 41, the undersigned counsel hereby

stipulate that all claims of plaintiff, _ MICHAEL RICHARDSON against defendant

Merck & Co., Inc., and all other named defendants be dismissed in their entirety with prejudice,

each party to bear its own costs.

Brifn A. Goldstein, Esq. Stephen G. Strauss Phillip A. Wittmann
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Attorneys for Merck & Co., Inc.

Dated: )|-Y-70

Dated: July 9, 2008

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip
Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-
Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF system
which will send a Notice of Electronic Filing in accord with the procedures established in MDL
1657, on this 16th day of November, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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